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 8                                  UNITED STATES DISTRICT COURT
 9                           FOR THE EASTERN DISTRICT OF CALIFORNIA
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11    LISA MARIE PEREZ,                                  No. 2:19-cv-00294 DAD AC
12                        Petitioner,
13             v.                                        ORDER
14    DIRK WILLIAMS,
15                        Respondent.
16

17            Petitioner is a state prisoner proceeding pro se and in forma pauperis in this habeas corpus

18   action filed pursuant to 28 U.S.C. § 2254. Petitioner has filed various motions that are pending

19   before the court. The court will address each motion in turn.

20            Petitioner has first filed a motion to substitute parties based on her name change. ECF

21   No. 62. The docket has already been updated to reflect petitioner’s correct name of Lisa Perez.

22   Therefore, the motion is granted. The court will also substitute Dirk Williams, the Warden of the

23   California Institution for Women, as the proper respondent in this matter since petitioner is

24   incarcerated at that facility. See Rule 2(a) of the Rules Governing Habeas Corpus Cases Under §

25   2254; Fed. R. Civ. P. 25(d). All future filings shall reflect the correct case caption indicated

26   above.

27            Petitioner has also filed a motion for transcripts. ECF No. 63. However, the case caption

28   reflects that petitioner intended to file this motion in the Butte County Superior Court. ECF No.
     Case 2:19-cv-00294-DAD-AC Document 73 Filed 04/02/24 Page 2 of 2


 1   63. A review of the docket also indicates that no hearings have been held in this case. Thus,
 2   there are no transcripts to provide to petitioner. Accordingly, the motion is denied as moot.
 3          Lastly, petitioner has filed a motion to exceed the page limitation for her traverse, to the
 4   extent that there is one. ECF No. 72. Petitioner is informed that the undersigned has a Standing
 5   Order available on the court’s website that limits reply briefs in civil cases to 10 pages, not
 6   including the index, table of contents, table of cases, and exhibits. Since petitioner is only
 7   requesting that “the appendices be exempt from the page limit,” the motion is granted as
 8   consistent with the court’s Standing Order. However, petitioner is cautioned not to duplicate
 9   any of the documents that have already been filed in her 96-page Appendix in Support of
10   the § 2254 Petition. ECF No. 58. The filing of duplicative documents only serves to slow the
11   court’s ability to resolve petitioner’s § 2254 application on the merits.
12          Based on the extension of time that the court granted on March 4, 2024, petitioner’s
13   traverse is due on or before June 10, 2024. Following the expiration of this deadline, petitioner’s
14   § 2254 application will be deemed submitted on the papers. No further filings will be entertained
15   by the court until such time as the court issues Findings and Recommendations on the pending §
16   2254 petition. Any pleadings filed in violation of this order will be stricken from the docket.
17          Accordingly, IT IS HEREBY ORDERED that:
18   `      1. Petitioner’s motion to substitute parties (ECF No. 62) is granted.
19          2. The Clerk of Court shall substitute Dirk Williams as the proper respondent in this case.
20          3. Petitioner’s motion for transcripts (ECF No. 63) is denied as moot.
21          4. Petitioner’s motion to exceed the page limit (ECF No. 72) is granted to the extent that
22   any appendix is not included in the page limitation.
23   DATED: April 1, 2024
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